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                  EXHIBIT A
          Case 1:20-cv-00381-MN Document 21-1 Filed 06/18/20 Page 2 of 8 PageID #: 1012


Joyce, Alexandra

From:                            Siem, Michael A. <msiem@goldbergsegalla.com>
Sent:                            Tuesday, June 2, 2020 1:58 PM
To:                              Harber, Adam; Silver, Daniel; Maurer, Aaron
Cc:                              Daignault, Ronald M. (Ron); Juang, Richard; Stamatios Stamoulis
Subject:                         Re: Response to Motions


**External Message**


Adam,

Thank you.

Michael

From: Harber, Adam <AHarber@wc.com>
Sent: Tuesday, June 2, 2020 1:54:47 PM
To: Siem, Michael A.; Silver, Daniel; Maurer, Aaron
Cc: Daignault, Ronald M. (Ron); Juang, Richard; Stamatios Stamoulis
Subject: RE: Response to Motions

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senders or unexpected emails.

Michael,

We have no objection to the two-week extension, provided that Plaintiff will also agree to a two-week extension on the
reply brief as well.

Thanks,
Adam

Adam D. Harber
Williams & Connolly LLP
725 Twelfth Street, N.W., Washington, DC 20005
(P) 202-434-5820 | (F) 202-434-5029
aharber@wc.com | www.wc.com/aharber

From: Siem, Michael A. <msiem@goldbergsegalla.com>
Sent: Tuesday, June 02, 2020 10:53 AM
To: Silver, Daniel <DSilver@McCarter.com>; Maurer, Aaron <AMaurer@wc.com>
Cc: Daignault, Ronald M. (Ron) <rdaignault@goldbergsegalla.com>; Juang, Richard <rjuang@goldbergsegalla.com>;
Stamatios Stamoulis <stamoulis@swdelaw.com>; Harber, Adam <AHarber@wc.com>
Subject: Response to Motions

Dan and Aaron,

We would like a two week extension to respond to the motions filed yesterday, so the motions would be due June
29, 2020. Please let us know if you are agreeable to this and we can get a stipulation on file.
                                                           1
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Thanks,

Michael




Michael A. Siem, Esq. | Partner

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DIRECT 646.292.8762 | EXT 8762 | FAX 646.292.8701 | MOBILE 646.369.8379
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                   EXHIBIT B
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Joyce, Alexandra

From:                            Silver, Daniel
Sent:                            Wednesday, June 17, 2020 4:51 PM
To:                              'Stamatios Stamoulis'
Cc:                              Joyce, Alexandra
Subject:                         RE: Aether v. AZ -- 20200617 Stip and Proposed Order to Extend Time


Will do, thanks.

From: Stamatios Stamoulis <stamoulis@swdelaw.com>
Sent: Wednesday, June 17, 2020 4:46 PM
To: Silver, Daniel <DSilver@McCarter.com>
Cc: Joyce, Alexandra <ajoyce@mccarter.com>
Subject: RE: Aether v. AZ -- 20200617 Stip and Proposed Order to Extend Time

**External Message**


Call my cell at 267-242-3229

Thanks

From: Silver, Daniel <DSilver@McCarter.com>
Sent: Wednesday, June 17, 2020 4:45 PM
To: Stamatios Stamoulis <stamoulis@swdelaw.com>
Cc: Joyce, Alexandra <ajoyce@mccarter.com>
Subject: RE: Aether v. AZ -- 20200617 Stip and Proposed Order to Extend Time

Stam, that works. What number is best? Thanks, Dan

From: Stamatios Stamoulis <stamoulis@swdelaw.com>
Sent: Wednesday, June 17, 2020 4:44 PM
To: Silver, Daniel <DSilver@McCarter.com>
Cc: Joyce, Alexandra <ajoyce@mccarter.com>
Subject: RE: Aether v. AZ -- 20200617 Stip and Proposed Order to Extend Time

**External Message**


Can we do 10:30AM tomorrow?




From: Silver, Daniel <DSilver@McCarter.com>
Sent: Wednesday, June 17, 2020 4:25 PM
To: Stamatios Stamoulis <stamoulis@swdelaw.com>
Cc: Joyce, Alexandra <ajoyce@mccarter.com>
Subject: RE: Aether v. AZ -- 20200617 Stip and Proposed Order to Extend Time



                                                          1
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Stam, Thanks for the offer but we cannot commit to a particular course of action at this point. The Amended Complaint
is huge, as you know, and we are still working through it. Are you available now for a quick meet and confer call? If not,
please let me know what works for you tomorrow morning.

Thanks and best regards,
Dan



From: Stamatios Stamoulis <stamoulis@swdelaw.com>
Sent: Wednesday, June 17, 2020 4:15 PM
To: Silver, Daniel <DSilver@McCarter.com>
Cc: Joyce, Alexandra <ajoyce@mccarter.com>
Subject: RE: Aether v. AZ -- 20200617 Stip and Proposed Order to Extend Time

**External Message**


Dan,

There is a chance I can convince the client to agree if the response to the amended complaint will be an answer. Is that
possible?

They are unwilling to agree to an extension just to have another partial motion to dismiss filed as infringement is
ongoing and they want to get the case started.

Thanks, Stam



From: Silver, Daniel <DSilver@McCarter.com>
Sent: Wednesday, June 17, 2020 3:59 PM
To: Stamatios Stamoulis <stamoulis@swdelaw.com>
Cc: Joyce, Alexandra <ajoyce@mccarter.com>
Subject: RE: Aether v. AZ -- 20200617 Stip and Proposed Order to Extend Time

Stam, Are you available for a quick meet and confer? We are going to move for the extension and need to meet and
confer before doing so. Let me know if your co-counsel wants to join and I’ll invite mine, as well (although I hope you
and I can cover it).

Thanks and best regards,
Dan



From: Stamatios Stamoulis <stamoulis@swdelaw.com>
Sent: Wednesday, June 17, 2020 3:49 PM
To: Silver, Daniel <DSilver@McCarter.com>
Cc: Joyce, Alexandra <ajoyce@mccarter.com>
Subject: RE: Aether v. AZ -- 20200617 Stip and Proposed Order to Extend Time

**External Message**


Hi Dan,



                                                             2
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I am told that the clock for Daiichi restarted with the amended complaint and that they are in the process of being
served.

I have also been informed that Aether will not agree to any extension of time to respond to the amended complaint.

My lead is available if you all want to substantively discuss the complaint.

Thanks, Stam

From: Silver, Daniel <DSilver@McCarter.com>
Sent: Wednesday, June 17, 2020 2:43 PM
To: Stamatios Stamoulis <stamoulis@swdelaw.com>
Cc: Joyce, Alexandra <ajoyce@mccarter.com>
Subject: Aether v. AZ -- 20200617 Stip and Proposed Order to Extend Time

Hi Stam, I hope all is well. Can we please have a 3 week extension (until July 16th) to respond to the First Amended
Complaint? If that is acceptable, please confirm your approval to file the attached stipulation.

Separately, does Aether intend to dismiss Daiichi Sankyo, Inc. from the case? As far as we can tell, the deadline for
service has passed and DS has not been served with process, so please let us know.

Thanks and best regards,
Dan




               Daniel Silver | Partner
               McCarter & English, LLP
               Renaissance Centre, 405 N. King Street, 8th Floor | Wilmington, DE 19801

               dsilver@mccarter.com | www.mccarter.com | V-Card
               T 302.984.6331 M 814.571.1414

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